                         Case 2:20-cr-00005-JJV Document 14 Filed 01/11/21 Page 1 of 4

 AO 245! (Rev. 11/16)    Judgment in a Criminal Case for a Petty Offense
                         Sheet I



                                       UNITED STATES DISTRJCT COURT
                                                            Eastern District of Arkansas

        UNITED STATES OF AMERlCA                                           Judgment in a Criminal Case
                                                                           (For a Petty Offense)
                            V.

                JOSE CASTANEDA                                             Case No.       2:20-cr-00005-JJV

                                                                           USM No .       06370-379

                                                                           KenDrell Collins
                                                                                                      De fendan t's Altom ey
THE DEFENDANT:

t'!f THE DEFENDANT pleaded                  00 guilty    D nolo contendere to eount(s) 1 and 2 of the Misdemeanor Information
D THE DEFENDANT was found guilty on count(s)
The defendant is adjudicated guilty of these offenses:

Title & Section                    Nature of Offense                                                     Offense Ended             Count
18   use 1791(a)(2)                Possession of a Prohibited Object in Prison                          10/25/2019               1 and 2




        The defendant is sentenced as provided in pages 2 through                4        of this judgment.
D THE DEli'ENDANT was found not guilty on count(s)
D Count(s)                _ _ _ _ ____ _ _                     D is        D are dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name
residence, or mailing address until all fines"restitution, costiJs and s2ecial assessments imposed by this judgment are fully paid. If ordered
to pay restitution , tne defendant must notiry the court and nited Elates attorney of material changes in economic circumstances.

Last Four Digits of Defendant's Soc. Sec. No. : 9106                       1/11/2021

Defendant's Year of Birth : 1986

City and State of Defendant's Residence:
Forrest City, Arkansas
                                                                           Joe J. Volpe                               U.S. Magistrate Judge
                                                                                                  Name and Title of Judge
                                                                           1/11/2021
                                                                                                              Date
                        Case 2:20-cr-00005-JJV Document 14 Filed 01/11/21 Page 2 of 4

AO 2451 (Rev. 11/16)   Judgment in a Criminal Case for a Petty Offense
                       Sheet 2 - Im risonmcnt
                                                                                                    Judgment -   Page   _2~_   of   4
DEFENDANT: JOSE CASTANEDA
CASE NUMBER: 2:20-cr-00005-JJV

                                                                 IMPRISONMENT

           The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
tenn of:

Six months of imprisonment on each count to run concurrently.




D    The court makes the following recommendations to the Bureau of Prisons:




~ The defendant is remanded to the custody of the United States Marshal.

•    The defendant shall surrender to the United States Marshal for this district:
     D at                                          D    a.m.        D     p.m.    on
     D as notified by the United States Marshal.

D    The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
     D before 2 p.m. on
     D     as notifi ed by the United States Marshal.
     0     as notified by the Probation or Pretrial Services Office.


                                                                         RETURN

I have executed this judgment as follows:




    Defendant delivered on                                                             to
                                                                                                                                        'I
at _ _ _ _ _ _ _ _ _ _ _ _ _ _ __ with a ce1tified copy of this judgment.


                                                                                                                                        ,'
                                                                                                                                         I



                                                                                               UNITED STATES MARSHAL                    -1
                                                                                                                                        ;!

                                                                            By----------------------
                                                                                            DEPUTY UNITED STATES MARSHAL
                         Case 2:20-cr-00005-JJV Document 14 Filed 01/11/21 Page 3 of 4

AO 245! (Rev. 11 / 16)   Judgment in a Criminal Case for a Petty Offense
                         Sheet 3 - Criminal Monetary Penallies
                                                                                                         Judgment - Page -----"-- of   - ----
 DEFENDANT:   JOSE CASTANEDA
 CASE NUMBER:   2:20-cr-00005-JJV
                                 CRIMINAL MONETARY PENALTIES

      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 4.

                    Assessment                  JVTA Assessment*                Fine                               Restitution
TOTALS          $   50.00                   $                                  $ 0.00                          $    0.00


•    The detennination of restitution is deferred until - - --                 . An Amended Judgment in a Criminal Case (AO 245C) will be
     entered after such determination.

•    The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned _pa:,rment, unless specified
     otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
     victims must be paid in full prior to the Umted States receiving payment.


Name of Payee                                                                      Total Loss**       Restitution Ordered Priority or Percentage




TOTALS                                                                     $                   o.oo   $ _ __ __ o
                                                                                                                _._
                                                                                                                  oo_

•    Restitution amount ordered pursuant to plea agreement$
                                                                           - -- - - -- --
D The defendant must pay interest on restitution or a fine of more than $2,500, unless the fine or restitution is paid in full before the
  fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet4 may be subject
  to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

•    The court determined that the defendant does not have the ability to pay interest, and it is ordered that:

     •    the interest requirement is waived for             •   fine          •      restitution.
     •    the interest requirement for the       •    fine       •      restitution is modified as follows :



* Justice for Victims of Trafficking Act of 201 S, Pub. L. No. 114-22.
** Findings for the total amount of losses are required under Chapters 109A, 110, 1I0A, and I I3A of Title 18 for offenses com milted on or after
September 13, 1994, but before April 23, 1996.
                        Case 2:20-cr-00005-JJV Document 14 Filed 01/11/21 Page 4 of 4



AO 245! (Rev. 11/16)    Judgment in a Criminal Case for a Petty Offense
                        Sheet 4 -   Schedule of Payments
                                                                                                        Judgment -          4_
                                                                                                                     Page _ _      of _ _   4__
 DEFENDANT:   JOSE CASTANEDA
 CASE NUMBER:   2:20-cr-00005-JJV


                                                           SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

 A     r:f Lump sum payment of$             50.00
                                                    - - --          due immediately, balance due

            ri   not later than                 3/11/2021                 , or
            D    in accordance with        fi    C, D D,           D      E,or    D F below); or

 B     D    Payment to begin immediately (may be combined with                   D C,     D D, or     D F below); or

 C     D    Payment in equal     ____ (e.g., weekly, monthly, quarterly) installments of $ _ _ __ _ over a period of
                         (e.g., months or years), to commence _ _ _ _ (e.g., 30 or 60 days) after the date of this judgment; or

D      D    Payment in equal _ _ __ _ (e.g., weekly, monthly, quarterly) installments of $ _ _ _ _ _ over a period of
                          (e.g., months or years), to commence _ __ _ (e.g., 30 or 60 days) after release from imprisonment to
            a tem1 of supervision; or

E     O     Payment during the term of probation will commence within _ _ _ _ (e.g., 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or
F     D     Special instructions regarding the payment of criminal monetary penalties:




Unless the COUit has expressly ordered otherwise? if this judgment imposes imprisonment, payment of criminal monetary renalties is
due during the period of imprisonment. All crimmal monetary penalties, except those payments made through the Federa Bureau of
Prisons' Inmate Financial Responsibility Program, arc made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




D     Joint and Several

      Defendant and Co-Defendant Names, Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




D     The defendant shall pay the cost of prosecution.

D     The defendant shall pay the following court cost(s):

D     The defendant shall forfeit the defendant's interest in the following property to the United States:



Paymen!s shall be applied in _the fol!ow_ing order: (1) assessment, (2) restitut_ion principal, (3) ~estitu~ion interest, (4) fine: principal,
(5) fine interest, (6) community rest1tut10n, (7) JVi A assessment, (S) penalties, and (9) costs, mcludmg cost of prosecut10n and
court costs.
